USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 1 of 38


                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF INDIANA



IRISH 4 REPRODUCTIVE HEALTH, et al.,

                             Plaintiffs,
                                                      Case No. 3:18-cv-491-PPS-MGG
                       v.
UNITED STATES DEPARTMENT OF HEALTH
                                                      Judge Philip P. Simon
AND HUMAN SERVICES, et al.,

                             Defendants.



        PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
  DEFENDANTS’ MOTIONS TO DISMISS THE SECOND AMENDED COMPLAINT

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USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 2 of 38


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USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 3 of 38


                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
ISSUE STATEMENT..................................................................................................................... 4
BACKGROUND ............................................................................................................................ 4
ARGUMENT.................................................................................................................................. 7
I.        THE SETTLEMENT AGREEMENT IS REVIEWABLE IN THIS PROCEEDING ....... 7
          A.         The Settlement Agreement is Justiciable................................................................ 7
                     1.         Little Sisters Does Not Disturb This Court’s Conclusion That the
                                Settlement Agreement is Reviewable. ........................................................ 7
                     2.         The Court Should Decline Defendants’ Invitation to “Reconsider”
                                Its Undisturbed Reviewability Analysis. .................................................. 11
          B.         Little Sisters Does Not Alter This Court’s Determination That Plaintiffs’
                     Challenge to the Settlement Agreement Is Ripe. .................................................. 13
II.       BOTH THE RULES AND THE SETTLEMENT AGREEMENT VIOLATE THE
          ESTABLISHMENT CLAUSE ......................................................................................... 15
          A.         The Rules and the Settlement Agreement Impermissibly Favor and
                     Advance Religious Beliefs.................................................................................... 15
                     1.         Little Sisters Did Not Even Consider Constitutional Challenges. ............ 15
                     2.         The Rules and the Settlement Agreement Do Not Alleviate a
                                Substantial Government-Imposed Burden on Religion. ........................... 16
                     3.         The Rules and the Settlement Agreement Impermissibly Harm
                                Third Parties.............................................................................................. 18
          B.         RFRA Cannot Authorize Or Require A Policy That Violates the
                     Constitution........................................................................................................... 20
III.      THE SETTLEMENT AGREEMENT IS VOID FOR ILLEGALITY ............................. 21
          A.         The Settlement Agreement is Unlawful Because It Violates the Lawful
                     Regulations Implementing the ACA, and Also Violates the APA. ...................... 21
          B.         Federal Defendants’ Decision to Permit Notre Dame to Impose Costs on
                     Students and Faculty for Contraception Violates the Women’s Health
                     Amendment and its Implementing Regulations.................................................... 26
CONCLUSION............................................................................................................................. 31




                                                                      i
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 4 of 38


                                                 TABLE OF AUTHORITIES



Cases..................................................................................................................................... Page(s)

Action on Smoking & Health v. Civ. Aero. Bd.,
    713 F.2d 795 (D.C. Cir. 1983) .................................................................................................21

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,
   570 U.S. 205 (2013).................................................................................................................20

Am. Acad. of Pediatrics v. Food & Drug Admin.,
   379 F. Supp. 3d 461 (D. Md. 2019) ...........................................................................................9

Ashcroft v. Iqbal,
   556 U.S. 662 (2009)...........................................................................................................29, 30

Bowen v. Roy,
   476 U.S. 693 (1986).................................................................................................................17

Burwell v. Hobby Lobby Stores, Inc.,
   573 U.S. 682 (2014)...........................................................................................................17, 20

Clark v. Suarez Martinez,
   543 U.S. 371 (2005).................................................................................................................19

Cmty. Nutrition Inst. v. Young,
  818 F.2d 943 (D.C. Cir. 1987) .................................................................................................10

EEOC v. R.G. & G.R. Harris Funeral Homes, Inc.,
  884 F.3d 560 (6th Cir. 2018), appealed and aff’d on unrelated issue sub nom.
  Bostock v. Clayton County, 140 S. Ct. 1731 (2020) ................................................................18

Emp. Div. v. Smith,
  494 U.S. 872 (1990).................................................................................................................18

Fluker v. Cty. of Kankakee,
   741 F.3d 787 (7th Cir. 2013) ...................................................................................................14

Goldberg v. Kelly,
   397 U.S. 254 (1970).................................................................................................................20

Heckler v. Chaney,
   470 U.S. 821 (1985)...............................................................................................7, 8, 9, 11, 12

Hispanic Affairs Project v. Acosta,
   263 F. Supp. 3d 160 (D.D.C. 2017), aff’d in part, rev’d in part, 901 F.3d 378
   (D.C. Cir. 2018) .......................................................................................................................25



                                                                       ii
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 5 of 38


Hobbie v. Unemployment Appeals Comm’n,
   480 U.S. 136 (1987).................................................................................................................16

Irish 4 Reproductive Health v. U.S. Dep’t of Health & Human Servs.,
    434 F. Supp. 3d 683 (N.D. Ind. 2020) ............................................................................. passim

Lemon v. Kurtzman,
   403 U.S. 602 (1971).................................................................................................................15

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
    140 S. Ct. 2367 (2020)..................................................................................................... passim

Lyng v. Nw. Indian Cemetery Prot. Ass’n,
   485 U.S. 439 (1988).................................................................................................................17

Maddonna v. U.S. Dep’t of Health & Human Servs.,
  No. 19-cv-3551 slip op. (D.S.C. Aug. 10, 2020) .....................................................................11

Miller v. Johnson,
   515 U.S. 900 (1995).................................................................................................................17

Perez v. Mortg. Bankers Ass’n,
   575 U.S. 92 (2015)...................................................................................................................19

Pub. Citizen Health Research Grp. v. Acosta,
   363 F. Supp. 3d 1 (D.D.C. 2018) ...............................................................................................9

RWJ Mgmt. Co. v. BP Prods. N. Am. Inc.,
  672 F.3d 476 (7th Cir. 2012) ...................................................................................................14

Santa Fe Indep. Sch. Dist. v. Doe,
   530 U.S. 290 (2000)...........................................................................................................15, 19

United States v. Lee,
   455 U.S. 252 (1982).................................................................................................................17

United States v. UCB, Inc.,
   970 F.3d 835, 851 (7th Cir. 2020) ...........................................................................................11

Webster v. Doe,
  486 U.S. 592 (1988).................................................................................................................11

Wis. Right to Life State Political Action Comm. v. Barland,
   664 F.3d 139 (7th Cir. 2011) ...................................................................................................13

Statutes

5 U.S.C. §§ 551-559 ........................................................................................................................2

5 U.S.C. § 551(5) .......................................................................................................................9, 24


                                                                     iii
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 6 of 38


5 U.S.C. § 553............................................................................................................................9, 24

5 U.S.C. § 706............................................................................................................................9, 24

42 U.S.C. § 300gg-13(a) ................................................................................................................27

42 U.S.C. § 300gg-13(a)(4) .................................................................................................1, 27, 28

42 U.S.C. § 2000bb-1 ....................................................................................................................21

42 U.S.C. §§ 2000bb-2000bb-4 .......................................................................................................1

Regulations

78 Fed. Reg. 39,870 (July 2, 2013)................................................................................................31

80 Fed. Reg. 41,318 (July 14, 2015)..............................................................................................31

83 Fed. Reg. 57,536 (Nov. 15, 2018).............................................................................................28

83 Fed. Reg. 57,592 (Nov. 15, 2018).............................................................................................28

Other Authorities

Arthur H. Garrison, The Opinions by the Attorney General and the Office of Legal
   Counsel: How and Why They Are Significant, 76 ALB. L. REV. 217, 238 &
   n.85 (2013)...............................................................................................................................25

Memorandum from Edwin Meese III, Attorney General, to All Assistant
  Attorneys General and All United States Attorneys (Mar. 13, 1986)..........................24, 25, 26

Memorandum from Randolph D. Moss, Acting Assistant Attorney General, to
  Raymond C. Fisher, Associate Attorney General 4, (June 15, 1999)..........................24, 25, 26




                                                                      iv
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 7 of 38


                                        INTRODUCTION

       Defendants would have this Court believe that the Supreme Court’s decision in Little

Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020), handed

them a complete victory in this case. But Little Sisters held only that the Patient Protection and

Affordable Care Act, 42 U.S.C. § 300gg-13(a)(4) (the “ACA”), authorized the Departments to

issue rules and that the Rules actually issued were not procedurally improper. It did not decide

whether the Settlement Agreement is valid; whether the Rules violate the Establishment Clause or

are arbitrary and capricious; and whether the Rules are authorized or required under the Religious

Freedom Restoration Act, 42 U.S.C. §§ 2000bb to 2000bb-4 (“RFRA”).1 Those questions are the

ones presented by this case.

       Indeed, Defendants implicitly acknowledge, ECF Nos. 108-1 (the “ND MTD”) and 109-1

(the “Gov’t MTD”), that the Supreme Court did not resolve this case when they ask this Court to

take them at their word that the Supreme Court would adopt their arguments, and therefore that

this Court should cast aside its earlier holdings.2 Little Sisters did not resolve this case and does

not disturb this Court’s prior holdings as to any of the claims realleged in the Second Amended

Complaint. Defendants’ arguments for dismissal are largely an attempt to relitigate issues that this

Court already resolved. They should be rejected on three grounds.




1
  The United States Departments of Labor, Health and Human Services, and Treasury will be
referred to as “Departments,” and, together with Alex M. Azar II, Eugene Scalia, and Steven
Mnuchin, as “Federal Defendants.”
2
  In doing so, Defendants repeatedly cite to the concurring opinion of Justices Alito and Gorsuch
as if it were the decision of the Court. See, e.g., ND MTD at 2, 11–12 (urging reliance on the
opinion of “two Justices” to conclude that there is “no basis for Plaintiffs’ claim that the Settlement
violates the Establishment Clause”); Gov’t MTD at 20 (same); ND MTD at 13 (speculating that
concurrence “leaves little doubt as to how the [Supreme] Court would rule” on whether RFRA
authorized or required the Settlement Agreement, even though this Court already held that it does
not and the Little Sisters majority declined to address the question). The concurrence is not binding
law.

                                                  1
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 8 of 38


       First, Little Sisters does not diminish this Court’s holdings that the Settlement Agreement

is judicially reviewable and that Plaintiffs’ challenge to it is ripe for review. Irish 4 Reproductive

Health v. United States Dep’t of Health & Human Servs., 434 F. Supp. 3d 683, 695–99 (N.D. Ind.

2020). Little Sisters does not disturb this Court’s conclusion that Plaintiffs have alleged that the

Settlement Agreement constitutes a reviewable general policy. Id. at 698–99. Moreover, this Court

already concluded that “both the Rules and Settlement Agreement are responsible for Plaintiffs’

injuries,” id. at 700 (emphasis added), and therefore that challenges to the Settlement Agreement

are ripe because there is “no question . . . that the Settlement Agreement [along with the Rules] is

causing [Plaintiffs’] injury,” id. at 701. Nothing in Little Sisters—which vacated another court’s

preliminary injunction of the Rules in a case that did not involve the Settlement Agreement—

affects this Court’s analysis regarding the harm caused by the Settlement Agreement.

       Second, Little Sisters did not address whether the Rules or the Settlement Agreement

violate the Establishment Clause. As this Court already held, Plaintiffs have adequately alleged

that both the Rules and the Settlement Agreement impermissibly favor religion, and that they

advance and prefer certain religious beliefs. Irish 4 Reprod. Health, 434 F. Supp. 3d at 708–10.

Defendants’ attempt to muddy the waters based on a two-Justice concurrence should be rejected.

And because RFRA can neither authorize nor require what the Establishment Clause forbids,

RFRA can have no bearing on Plaintiffs’ constitutional challenge.

       Third, Little Sisters did not resolve Plaintiffs’ claims that the Settlement Agreement is void

for illegality under the Administrative Procedure Act, 5 U.S.C. §§ 551-559 (the “APA”), the

Women’s Health Amendment of the ACA, and the lawful regulations implementing the ACA.

Little Sisters expressly left open the question whether the Rules satisfy the APA’s substantive

requirements, 140 S. Ct. at 2397-98 (Kagan, J., concurring in the judgment). Federal Defendants

cannot bypass the APA’s strictures by executing a Settlement Agreement that contains the same


                                                  2
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 9 of 38


infirmities as the Rules. By establishing a general policy to abandon the contraceptive coverage

requirement without a rulemaking process as the APA requires, the Settlement Agreement likewise

is unlawful. Finally, nothing in Little Sisters affects Plaintiffs’ claim that the Settlement Agreement

is unlawful and a violation of the Women’s Health Amendment––even as implemented by the

Rules––to the extent that the Settlement Agreement allows Notre Dame to impose cost-sharing for

contraception that it willingly covers.

       Plaintiffs’ Second Amended Complaint responds to the actual effects of Little Sisters. This

Court should not be distracted by Defendants’ speculations about what the Supreme Court might

have held had it reached issues that it declined to address and that this Court has already decided.

The function of this Court is to exercise its best judgment on the issues presented in this case,

which it has already done. The motions to dismiss should be denied.




                                                  3
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 10 of 38


                                      ISSUE STATEMENT

     1. Should the Court accept Defendants’ request to reconsider and reverse its rulings that the

        Settlement Agreement is reviewable and that challenges to it are ripe, even though the Little

        Sisters litigation did not involve or even mention the Settlement Agreement and the

        Supreme Court did not address or decide any questions regarding justiciability?

     2. Should the Court accept Defendants’ request to reconsider and reverse its ruling that

        Plaintiffs have adequately stated Establishment Clause claims, even though the Supreme

        Court did not address or decide any constitutional questions in Little Sisters?

     3. Have Plaintiffs adequately stated claims that the Settlement Agreement exceeds the

        government’s settlement authority and violates the ACA; the lawful regulations

        implementing the ACA (i.e., the regulations that will be in force if the challenged Rules

        are set aside); and the APA’s requirements for federal policymaking, when (a) Little Sisters

        did not involve the Settlement Agreement nor did it resolve whether the challenged Rules

        are lawful, and (b) the Settlement Agreement allows Notre Dame to impose cost-sharing

        for contraception that Notre Dame otherwise covers?



                                         BACKGROUND

        This Court is familiar with the factual background of the case. See Irish 4 Reprod. Health,

 434 F. Supp. 3d at 690–94.3 Plaintiffs, who include women4 of child-bearing age enrolled in health



 3
   Plaintiffs also refer the Court to Plaintiffs’ Opposition to Defendants’ Motion to Dismiss the
 Amended Complaint, ECF No. 61 at 3–13, for a more complete discussion of the facts. Given the
 Court’s familiarity with the details, Plaintiffs focus here on the case’s procedural posture.
 4
   Because the individual Plaintiffs and identified members of Plaintiff Irish 4 Reproductive Health
 identify as women—and the Rules and the Settlement Agreement target women—this brief uses
 the term “women” throughout. The denial of reproductive health care and insurance coverage for
 that care, however, also affects individuals who may not identify as women, including some
 gender-nonconforming individuals and transgender men.

                                                 4
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 11 of 38


 plans sponsored by Notre Dame, initiated this action in June 2018 in response to acts by the

 government and Notre Dame that continue to deprive them, and thousands of other students,

 employees, and dependents in health plans sponsored by Notre Dame, of meaningful access to

 essential reproductive health services. ECF No. 1. In their initial complaint, Plaintiffs challenged

 the interim rules and the Settlement Agreement, id., and they amended their complaint in

 December 2018 to instead challenge the Final Rules and the Settlement Agreement, ECF No. 43.

 Defendants filed motions to dismiss that complaint in February 2019, ECF Nos. 58, 59, and the

 Court heard oral arguments in June 2019.

         In January 2020, this Court issued its decision denying in most respects Defendants’

 motions to dismiss. Irish 4 Reprod. Health, 434 F. Supp. 3d at 683. It held that Plaintiffs had

 adequately alleged that the Settlement Agreement was a “conscious and express adoption of a

 general policy to authorize Notre Dame to prospectively circumvent the contraceptive coverage

 requirement” and thus was reviewable. Id. at 698. The Court also held that Plaintiffs had standing

 to challenge both the Rules and the Settlement Agreement because Notre Dame was relying on

 “both the Rules and the Settlement Agreement right now to support its contraceptive decisions,”

 and because “both the Rules and Settlement Agreement are responsible for Plaintiffs’ injuries.” Id.

 at 699–700 (emphasis in original). The Court additionally held that claims relating to the

 Settlement Agreement were ripe because the Settlement Agreement “is, in its own right, injuring

 the Plaintiffs right now.” Id. at 702.

         Turning to the question whether the Settlement Agreement was void for illegality, this

 Court noted the Supreme Court’s directive in Zubik that parties “should be afforded an opportunity

 to arrive at an approach going forward that accommodates [objectors’] religious exercise while at

 the same time ensuring that women covered by [objectors’] health plans receive full and equal

 health coverage, including contraceptive coverage.” Id. at 700–01 (quoting Zubik v. Burwell, 136


                                                  5
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 12 of 38


 S. Ct. 1557, 1560 (2016)). Because “[t]he Settlement Agreement does not ensure that women get

 full contraceptive coverage without cost-sharing,” this Court held that Plaintiffs had stated a claim

 that the Settlement Agreement was void for illegality. Id. at 701.

        This Court further held that RFRA neither authorizes nor requires the Settlement

 Agreement or the Rules, Irish 4 Reprod. Health, 434 F. Supp. 3d at 706–08, and that Plaintiffs had

 stated a claim that the Settlement Agreement and the Rules violate the ACA and the APA, id. at

 702–06. And the Court held that Plaintiffs’ Establishment Clause claims likewise survived

 dismissal. Id. at 708–10. Only the Due Process and Equal Protection claims were dismissed. Id. at

 710–11.

        Shortly after this Court issued its decision, the Supreme Court granted certiorari in Little

 Sisters, and Federal Defendants moved to stay this case. ECF No. 85. This Court granted the stay,

 but pointed out that the Supreme Court’s decision “may not be dispositive in this matter.” ECF

 No. 93 at 2. That statement was prescient.

        On July 8, 2020, the Supreme Court issued its decision in Little Sisters. 140 S. Ct. 2367.

 The Court held that the government had discretion under the ACA to “create the religious and

 moral exemptions” from the Rules, id. at 2381, and that the Rules were not procedurally invalid

 under the APA, id. at 2384–86. The Court expressly declined to reach arguments about whether

 RFRA authorized or required the exemptions. Id. at 2382–83; cf. at 2387–96 (Alito, J., joined by

 Gorsuch, J., concurring) (arguing that the Court should instead have gone on to consider and decide

 that RFRA compelled the exemptions). Nor did the Court decide “whether the exemptions can

 survive administrative law’s demand for reasoned decisionmaking,” i.e., whether the Rules are

 arbitrary and capricious. Id. at 2396–400 (Kagan, J., joined by Breyer, J., concurring in the

 judgment). “That issue remains open for the lower courts to address.” Id.




                                                  6
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 13 of 38


        After the Supreme Court issued its decision, Plaintiffs filed a notice of voluntary

 withdrawal of claims affected by Little Sisters or previously dismissed by this Court. ECF No. 96.

 Shortly thereafter, this Court held a telephonic status conference to determine the path forward.

 The Court directed Plaintiffs to file a second amended complaint, ECF No. 97, and cautioned

 Defendants that any resulting motions to dismiss should not “rehash” topics that were unaffected

 by the Little Sisters decision. ECF No. 99 at 20–21. The Court underscored that it would ignore

 arguments that it had already decided. Id. Plaintiffs filed the Second Amended Complaint on

 August 20. See generally ECF No. 102 (the “Second Amended Complaint” or “SAC”). On

 September 21, Defendants moved to dismiss most of Plaintiffs’ claims, this Court’s warning about

 relitigating decided issues notwithstanding.

                                          ARGUMENT

 I.     THE SETTLEMENT AGREEMENT IS REVIEWABLE IN THIS PROCEEDING

        A.      The Settlement Agreement is Justiciable

                1.     Little Sisters Does Not Disturb This Court’s Conclusion That the
                       Settlement Agreement is Reviewable.

        Defendants seek to relitigate the reviewability of the Settlement Agreement, even though

 nothing in Little Sisters alters this Court’s holding on that issue, Irish 4 Reprod. Health, 434 F.

 Supp. at 696-99.

        This Court concluded that Plaintiffs adequately alleged that the Settlement Agreement

 constitutes a general policy affecting thousands of people, “and not just a single fact-specific

 resource-allocation decision subject to Heckler [v. Chaney, 470 U.S. 821 (1985)] discretion.” Id.

 at 198. The Court therefore held that it could review Plaintiffs’ claims that Federal Defendants

 “exceeded their legal authority,” “acted unconstitutionally,” and “failed to follow their own

 regulations” in executing the Settlement Agreement, id. at 699, and that judicial review was

 “particularly warranted” because Plaintiffs allege that this general policy both “amounts to


                                                 7
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 14 of 38


 abdication of [the government’s] statutory responsibilities” and constitutes “abandonment of its

 promulgated regulations,” Id. at 698. In holding that judicial review is appropriate, the Court found

 it “especially disturbing” that “Federal Defendants have purported to bind future administrations,

 as well as future faculty, staff, and students at Notre Dame, by entering into such a broad

 Settlement Agreement that exempts Notre Dame from ‘the Regulations or any materially similar

 regulation or agency policy,’ and provides that no penalties will be assessed for noncompliance

 with ‘any law or regulation’ requiring contraceptive coverage.” Id. (quoting the Settlement

 Agreement ¶¶ 2, 4).5

        This Court’s clear explanation to the contrary notwithstanding, Federal Defendants now

 contend that this Court’s reviewability analysis was “based on a narrow understanding of the

 Agencies’ statutory authority . . . that the Supreme Court has now repudiated.” Gov’t MTD at 2–

 31; see also ND MTD at 8. That is incorrect. Nothing in this Court’s analysis turned on whether

 the contraceptive coverage requirement was statutorily mandated, or instead was, as Little Sisters

 held, a creature of regulation. Little Sisters, 140 S. Ct. at 2380–82. Nor did this Court’s

 reviewability decision turn on whether Federal Defendants had statutory rulemaking authority to

 issue regulatory exemptions from the contraceptive coverage requirement. So it is unaffected by

 the holding in Little Sisters that they did. Rather, this Court’s reviewability determination was

 predicated entirely on the apt conclusion that Heckler does “not dictate what happens in a case like

 this,” where the government has adopted a general policy that is alleged to violate (1) regulations

 rightfully in effect, (2) statutes, or (3) the Constitution. See Irish 4 Reprod. Health, 434 F. Supp.



 5
   Contrary to Notre Dame’s assertions, it is of no moment that the Women’s Health Amendment
 and implementing regulations “say nothing about how they are to be enforced,” ND MTD at 24
 (citing Heckler, 470 U.S. at 833), because this Court already concluded that Plaintiffs adequately
 alleged that the Settlement Agreement simply is not a single-shot nonenforcement agreement.
 Thus, it need not also come within the distinct “law to apply” exception to Heckler for this Court
 to review it.

                                                  8
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 15 of 38


 3d at 697–98 (citing Heckler v. Chaney, 470 U.S. 821, 833 n.4 (1985); id. at 839 (Brennan, J.,

 concurring) (clarifying that Heckler does not preclude judicial review of allegations that an agency

 “has refused to enforce a regulation lawfully promulgated” and properly in effect or that “a

 nonenforcement decision violates constitutional rights”); OSG Bulk Ships, Inc. v. United States,

 132 F.3d 808, 812 (D.C. Cir. 1998); Crowley Caribbean Transp. v. Pena, 37 F.3d 671, 676–77

 (D.C. Cir. 1994)). Plaintiffs’ claims as to “all three of the[se] violations,” Irish 4 Reprod. Health,

 434 F. Supp. 3d at 699, remain unchanged in all material respects.

        First, Plaintiffs maintain that Federal Defendants unlawfully attempted to make policy by

 settlement, abandoning the lawful regulations establishing the contraceptive coverage requirement

 for the tens of thousands of individuals covered by Notre Dame’s and other covered entities’ health

 plans, without following the APA’s requirements for promulgating federal policy.6 The APA

 requires agencies to engage in notice-and-comment rulemaking, subject to arbitrary-and-

 capricious review and constitutional constraints, before amending or revoking a notice-and-

 comment rule. 5 U.S.C. §§ 551(5), 553, 706. Where, as here, a plaintiff plausibly alleges that an

 agency’s action is “tantamount to amending or revoking a rule,” the action “does not warrant a

 presumption against reviewability” but rather “amounts to substantive rulemaking subject to the

 APA’s constraints and [is] generally reviewable by courts.” Pub. Citizen Health Research Grp. v.

 Acosta, 363 F. Supp. 3d 1, 18-19 (D.D.C. 2018) (internal quotation marks omitted); accord Am.




 6
   As explained in Section III.A., infra, this Court may consider claims that the Settlement
 Agreement unlawfully abandoned the lawful regulations previously in place, because if challenges
 to the Rules in this or in other pending suits are successful, the prior regulations will once again
 become operative. In any event, Plaintiffs alternatively argue that the Settlement Agreement
 violates the ACA, even as implemented by the challenged Rules, by allowing Notre Dame to
 charge co-payments for contraceptives that it has willingly covered for years, and thus ones for
 which Notre Dame lacks a basis for asserting a religious exemption under the Rules. Infra, Section
 III.B. And as detailed in Section II, infra, both the Settlement Agreement and the Rules favor
 religion and advance and prefer certain religious beliefs in violation of the Establishment Clause.

                                                   9
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 16 of 38


 Acad. of Pediatrics v. Food & Drug Admin., 379 F. Supp. 3d 461, 481 (D. Md. 2019); see also

 Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 948 (D.C. Cir. 1987) (agency action that creates

 rights and obligations and cabins the agency’s own discretion “can in fact rise to the level of a

 substantive, legislative rule”).

         As alleged in the Second Amended Complaint, Federal Defendants used the Settlement

 Agreement to bypass lawfully promulgated regulations requiring contraceptive coverage without

 cost-sharing, thus violating the APA. SAC ¶¶ 168, 175(d). Plaintiffs aim to show that the Rules

 “flunk the test of reasoned decisionmaking” under the APA (and violate the Establishment Clause,

 see Part II, infra) because there is “a mismatch between the scope of the religious exemption and

 the problem the agencies set out to address,” Little Sisters, 140 S. Ct. at 2398 (Kagan, J., concurring

 in the judgment) (quotations omitted); SAC ¶ 104. The Settlement Agreement institutes that same

 policy, without even the illusion of the requisite rulemaking process. SAC ¶¶ 11, 168, 175(d), see

 Sections II.A. & III.A., infra. The APA does not permit Federal Defendants to accomplish via

 contract what they could not legally accomplish via regulation. Nothing in Little Sisters alters this

 Court’s ability to review claims of such unlawful conduct.

         Second, Plaintiffs maintain that the Settlement Agreement violates the Women’s Health

 Amendment of the ACA, even as implemented by the Rules, to the extent that it permits Notre

 Dame to impose cost-sharing for contraceptive methods that it has made the decision to cover.

 SAC ¶¶ 8, 13–17, 167, 175(c). Little Sisters does not alter this Court’s determination that it may

 review a claim that the Settlement Agreement contravenes the ACA.

         Third, Plaintiffs maintain that the Settlement Agreement violates the Establishment Clause.

 SAC ¶¶ 165, 175(a), 188–192. Little Sisters expressly did not decide the constitutionality of the

 Final Rules, let alone of the Settlement Agreement (which was not even at issue in that litigation).

 Little Sisters, 140 S. Ct. at 2383 n.10. Yet Notre Dame suggests that Little Sisters stands for the


                                                   10
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 17 of 38


 proposition that statutory authorization to create religious exemptions means that the exemptions

 ultimately created are immune from judicial review. ND MTD at 9. That is wrong. Congress may

 not delegate to an agency the discretion to violate constitutional mandates (see Section II.A.3.,

 infra). And “serious constitutional question[s] . . . would arise if a federal statute were construed

 to deny any judicial forum for a colorable constitutional claim.” Webster v. Doe, 486 U.S. 592,

 603 (1988).

        Indeed, “Heckler reserved decision on what result would follow if there were a ‘colorable

 claim . . . that the agency’s refusal to institute proceedings violated any constitutional rights’ of

 the plaintiff.” See United States v. UCB, Inc., 970 F.3d 835, 851 (7th Cir. 2020) (quoting Heckler,

 470 U.S. at 838)); see also Heckler, 470 U.S. at 839 (Brennan, J., concurring). Accordingly,

 “[c]ourts have often undertaken review of actions having constitutional implications in order to

 protect the fundamental rights of a challenger within the context of the APA.” Maddonna v. U.S.

 Dep’t of Health & Human Servs., No. 19-cv-3551 slip op. at 43, 41–43 (D.S.C. Aug. 10, 2020)

 ECF No. 43.

        Little Sisters thus does not affect this Court’s conclusion that the Settlement Agreement is

 subject to judicial review.

                2.      The Court Should Decline Defendants’ Invitation to “Reconsider” Its
                        Undisturbed Reviewability Analysis.

        Perhaps recognizing that Little Sisters truly has no bearing on the reviewability of the

 Settlement Agreement, Federal Defendants also broadly invite the Court to “reconsider its

 approach” to reviewability. Gov’t MTD at 14. The Court should reject this naked attempt to

 relitigate the point, and instead should summarily conclude that the Settlement Agreement is

 reviewable for all the reasons stated in the Court’s earlier decision and in Plaintiffs’ Opposition to

 Defendants’ Motion to Dismiss the Amended Complaint, ECF No. 61 at 17–21.




                                                  11
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 18 of 38


        Simply put, this Court’s earlier decision was correct. Federal Defendants’ argument that

 this Court’s reasoning would allow any plaintiff to “escape Heckler reviewability by merely

 alleging that an agency exceeded its authority in failing to take an enforcement action or entering

 into a settlement agreement” misapprehends why this Court concluded that the Settlement

 Agreement is reviewable. Gov’t MTD at 14–15. This Court recognized that the Settlement

 Agreement is not, as Defendants would recast it (Gov’t MTD at 14–15; see also ND MTD at 8), a

 mere “failure to take an enforcement action,” nor is it a run-of-the-mill settlement of litigation.

 Irish 4 Reprod. Health, 434 F. Supp. 3d at 698. The Court based its reviewability determination

 on the fact that the Settlement Agreement wholly exempts Notre Dame, 74 other entities and

 individuals, and an unknown number of related entities from complying with the current

 contraceptive coverage regulations, all future regulations, and potentially even other current or

 future statutes that provide for contraceptive coverage benefits, to the detriment of Plaintiffs and

 countless other individuals, now and forevermore. Settlement Agreement, ECF No. 102-1, ¶¶ 2, 4.

 And the Court recognized that the Settlement Agreement “stands in the way of any other

 mechanism to address the injury at issue in this case,” Irish 4 Reprod. Health, 414 F. Supp. 3d at

 696—precisely the sort of affirmative exercise of “coercive power over an individual’s liberty or

 property rights . . . that courts often are called upon to protect,” Heckler, 470 U.S. at 832 (emphasis

 in original). As this Court properly held, such policymaking by settlement “that is impacting

 thousands of individuals right now” is subject to judicial review. Irish 4 Reprod. Health, 434 F.

 Supp. 3d at 697–98.7



 7
   Federal Defendants incorrectly argue that the Court’s reasoning “would transform every Heckler
 nonreviewability analysis into a decision on the merits.” Gov’t MTD at 15. Not so. The key
 question in the reviewability analysis is whether Plaintiffs plausibly allege that the agency conduct
 constitutes an unlawful general policy as opposed to a “single-shot nonenforcement decision.”
 Irish 4 Reprod. Health, 434 F. Supp. 3d at 697. If so, the claim is reviewable, regardless of whether
 Plaintiffs ultimately succeed on the merits of the claim.

                                                   12
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 19 of 38


        B.      Little Sisters Does Not Alter This Court’s Determination That
                Plaintiffs’ Challenge to the Settlement Agreement Is Ripe.

        Plaintiffs’ challenge to the Settlement Agreement is, no less than before, ripe for review.

 Nothing about Little Sisters alters this Court’s previous determination that “[t]he Settlement

 Agreement challenges are ripe now because Plaintiffs’ claims address an active controversy that

 turns on Defendants’ past actions and legal issues, not on uncertain future contingencies.” Id. at

 701 (emphasis added). As Plaintiffs previously explained, “the validity of the Settlement

 Agreement is not contingent on any ‘uncertain’ events but rather turns purely on whether it was

 lawfully entered into in the first place.” ECF No. 61 at 16; Wis. Right to Life State Political Action

 Comm. v. Barland, 664 F.3d 139, 148 (7th Cir. 2011) (“Claims that present purely legal issues are

 normally fit for judicial decision.”). And while Defendants may wish to redescribe Plaintiffs’

 injuries as hypothetical, ND MTD at 7; Gov’t MTD at 17, this Court had “no doubt that the

 Plaintiffs are currently experiencing an injury—they have lost coverage for contraceptive care and

 are currently paying out-of-pocket for those needs,” Irish 4 Reprod. Health, 434 F. Supp. 3d at

 701-02. The Court thus held that there was “no question . . . that the Settlement Agreement is

 causing [Plaintiffs’] injury”––in addition to the Rules, see id. at 701––because “Notre Dame has

 repeatedly and specifically invoked it as a basis for refusing to provide contraceptive coverage.”

 Id.8 Indeed, the Court recognized that Plaintiffs’ harms attributable to the Settlement Agreement

 stretch back to October 2017; those harms were ongoing both while the interim rules were in effect

 and after they were preliminarily enjoined in December 2017, id. at 702; see also SAC ¶ 6 n.2, and

 continue today.




 8
   The fact that the Settlement Agreement also covers future conduct does not alter that conclusion.
 This Court recognized that the Settlement Agreement is causing harm now, making the case ripe.
 Irish 4 Reprod. Health, 434 F. Supp. 3d at 701-02. That Plaintiffs also challenge the Settlement
 Agreement’s application to future administrations does not somehow render ripe claims unripe.

                                                  13
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 20 of 38


        Thus, contrary to Notre Dame’s assertions, ND MTD at 6, this Court’s ripeness holding

 did not “hinge[] on” the preliminary injunctions of the Final Rules in other courts; nor did this

 Court hold that the Settlement Agreement was the “sole basis” of Plaintiffs’ injuries. Rather, the

 Court recognized that the preliminary injunctions of the Rules were just that––preliminary––and

 relied on Notre Dame’s own representations to conclude that “both the Rules and Settlement

 Agreement are responsible for Plaintiffs’ injuries.” Irish 4 Reprod. Health, 434 F. Supp. 3d at 700.

 See id. (citing Notre Dame’s Memorandum of Law in Support of Motion To Dismiss, ECF No.

 59-1 at 14 (noting Notre Dame’s then-position that the “regulations exempt Notre Dame from the

 Mandate wholly apart from the settlement agreement”)); see also Notre Dame’s Reply in Support

 of Motion to Dismiss, ECF No. 68 at 2 (“Notre Dame’s refusal to provide coverage is based on

 both the regulatory exemption and the settlement.” (emphasis in original)). Accordingly, the Court

 rejected Defendants’ “house of mirrors” approach, in which Notre Dame argued that the Rules

 rendered the challenge to the Settlement Agreement nonjusticiable and Federal Defendants argued

 the reverse. The Court thus held that Plaintiffs have standing to challenge all the agency actions

 and that the Settlement Agreement is ripe for review. Irish 4 Reprod. Health, 434 F. Supp. 3d at

 700, 701–02.

        What is more, the Rules remain subject to legal challenge in this litigation, and they may

 well be enjoined or vacated again, whether by this Court or some other, which would leave Notre

 Dame to rely solely on the Settlement Agreement. Accordingly, in the interest of judicial economy

 this Court should address the merits of both legal questions in one lawsuit, particularly “after

 almost two years of litigation and a comprehensive opportunity to address the merits of the case.”

 Fluker v. Cty. of Kankakee, 741 F.3d 787, 793 (7th Cir. 2013); see also RWJ Mgmt. Co. v. BP

 Prods. N. Am. Inc., 672 F.3d 476, 481 (7th Cir. 2012) ( “[C]oncerns about judicial economy have




                                                 14
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 21 of 38


 their greatest force when significant federal judicial resources have already been expended to

 decide the . . . claims. . . .”).

 II.     BOTH THE RULES AND THE SETTLEMENT AGREEMENT VIOLATE THE
         ESTABLISHMENT CLAUSE

         This Court has already held that Plaintiffs have adequately alleged that the Rules and the

 Settlement Agreement violate the Establishment Clause. Irish 4 Reprod. Health, 434 F. Supp. 3d

 at 708-10. Defendants now ask the Court to do an about-face in light of Little Sisters. But the

 Supreme Court’s holding that the ACA authorizes agencies to create regulatory exemptions from

 the contraceptive-coverage requirement has no bearing on whether the Constitution requires,

 permits, or forbids these particular exemptions. Little Sisters does not even address constitutional

 claims, much less eliminate “the fundamental limitations imposed by the Establishment Clause,”

 Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290, 302 (2000) (quoting Lee v. Weisman, 505 U.S.

 577, 587 (1992)), on any government-imposed religious exemption. As this Court has already

 concluded that Plaintiffs have properly stated claims that the Rules and the Settlement Agreement

 violate these fundamental limitations, that should end the matter.

         A.       The Rules and the Settlement Agreement Impermissibly Favor and Advance
                  Religious Beliefs.

                  1.       Little Sisters Did Not Even Consider Constitutional Challenges.

         This Court, relying on the test first articulated in Lemon v. Kurtzman, 403 U.S. 602 (1971),

 concluded that Plaintiffs adequately alleged that the Rules and the Settlement Agreement “have

 the primary purpose and principal effect of promoting, advancing, and endorsing religion” and

 “coercively impose religious beliefs and practices to which Plaintiffs and other affected persons

 do not subscribe,” by “impos[ing] the religious beliefs of a select few on individuals who may not

 share those beliefs.” Irish 4 Reprod. Health, 434 F. Supp. 3d at 709 (quoting Amended Complaint,

 ECF No. 43, ¶¶ 10, 216). Because the Supreme Court in Little Sisters did not consider an



                                                   15
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 22 of 38


 Establishment Clause claim, Defendants have no ground to argue that Little Sisters somehow

 altered or diminished these foundational Establishment Clause principles. Hence, there is no basis

 for this Court to reconsider its holding here.

                2.      The Rules and the Settlement Agreement Do Not Alleviate a Substantial
                        Government-Imposed Burden on Religion.

        This Court correctly recognized that “[a]n ‘accommodation of religion, in order to be

 permitted under the Establishment Clause, must lift an identifiable [government-imposed] burden

 on the exercise of religion.’” Irish 4 Reprod. Health, 434 F. Supp. 3d at 708 (second alteration in

 original)   (quoting    Cty.    of    Allegheny    v.    ACLU      Greater     Pittsburgh    Chapter,

 492 U.S. 573, 613 n.59 (1989)). When the burden is insubstantial or nonexistent, religious

 exemptions impermissibly “single out a particular class of [religious observers] for favorable

 treatment and thereby have the effect of implicitly endorsing a particular religious belief.” Hobbie

 v. Unemployment Appeals Comm’n, 480 U.S. 136, 145 n.11 (1987).

        In keeping with that constitutional prerequisite, this Court already concluded that, among

 other constitutional defects, the preexisting accommodation was not an “unjustified substantial

 burden[] on the exercise of moral convictions and religious beliefs,” so the prerequisite for a

 religious accommodation is not met. Irish 4 Reprod. Health, 434 F. Supp. 3d at 709. Eight of the

 nine circuits to have considered the question agree. Id. at 708-09. And the Supreme Court has

 never held otherwise. Not in Little Sisters. Not ever. That two Justices felt the need in a separate

 concurrence in Little Sisters to state that they “would decide [this] one additional question,” going

 beyond what the majority did, just underscores that the Court did not decide what Defendants wish

 that it had. 140 S. Ct. at 2387 (Alito, J., concurring). And it remains settled, binding precedent that

 agencies cannot “accommodate” religious exercise if there is no substantial, government-imposed

 burden being ameliorated.




                                                   16
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 23 of 38


         It likewise remains binding precedent that “the decision about whether an alleged burden

 is substantial is a legal question . . . committed to the purview of the courts, not to an administrative

 agency.” Irish 4 Reprod. Health, 434 F. Supp. 3d at 706 (citing Gonzales v. O Centro Espirita

 Beneficente Uniao do Vegetal, 546 U.S. 418, 434 (2006)) (explaining substantial-burden

 prerequisite under RFRA). That does not mean that an agency cannot in the first instance consider

 whether a religious accommodation might be warranted; nor did this Court ever so suggest, contra

 ND MTD at 14. Rather, it means that the agencies’ view is not entitled to deference; at the end of

 the day, the courts must make the call. See, e.g., Miller v. Johnson, 515 U.S. 900, 922–23 (1995).

 And that is precisely what Plaintiffs sought from the start—and what this Court has already done.

         As for the recognition in Little Sisters that courts “must accept the sincerely held

 complicity-based objections of religious entities,” Little Sisters, 140 S. Ct. at 2383, that simply

 means that courts cannot judge the validity of a claimant’s beliefs. A court cannot say, for example,

 that “you are wrong as a theological matter that giving the government notice of your objection to

 contraceptive coverage makes you morally complicit in sin.” The statement of this principle in

 Little Sisters was hardly novel. See, e.g., Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 723–

 24 (2014); United States v. Lee, 455 U.S. 252, 263 n.2 (1982) (Stevens, J., concurring) (courts

 cannot evaluate “the relative merits of differing religious claims”).

         But whether a burden qualifies as “substantial” as a legal matter is nonetheless an objective

 question of law to be determined by the courts. See, e.g., Gonzales, 546 U.S. at 434; Lyng v. Nw.

 Indian Cemetery Prot. Ass’n, 485 U.S. 439, 452 (1988); Bowen v. Roy, 476 U.S. 693, 702 (1986)

 (“[C]laims of religious conviction do not automatically entitle a person to fix unilaterally the

 conditions and terms of dealings with the Government. Not all burdens on religion are

 unconstitutional.”). While a claimant might genuinely feel burdened in its religious exercise—and

 while the courts cannot reject that belief as “wrong”—accepting the sincere religious objection


                                                    17
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 24 of 38


 does not obviate the need for a judicial determination whether the burden is legally sufficient to

 satisfy the legal prerequisite of a substantial legal burden. And “[m]ost circuits . . . have recognized

 that a party can sincerely believe that he is being coerced into engaging in conduct that violates

 his religious convictions without actually, as a matter of law, being so engaged.” EEOC v. R.G. &

 G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 588 (6th Cir. 2018), appealed and aff’d on

 unrelated issue sub nom. Bostock v. Clayton County, 140 S. Ct. 1731 (2020).

         In short, accepting Notre Dame’s belief that complying with the preexisting regulatory

 accommodation would make it complicit in sin does not resolve whether the notice requirement

 substantially burdens religious exercise as a matter of law. There is no basis to cast aside the sound

 conclusion of this Court, the Seventh Circuit, and the overwhelming majority of the other circuits

 that it is no substantial burden as a legal matter to “hav[e] to give . . . notice” to avail oneself of a

 regulatory religious opt-out right. Irish 4 Reprod. Health, 434 F. Supp. 3d at 706-07. Rather, it is

 the bare minimum that objectors must do for the government to retain lawmaking authority while

 admitting of religious objections to general legal obligations. Cf. Emp. Div. v. Smith, 494 U.S. 872,

 879, 885 (1990) (making adherence to generally applicable laws “contingent upon the law’s

 coincidence with” individuals’ religious beliefs would “permit every citizen to become a law unto

 himself” (quoting Reynolds v. United States, 98 U.S. 145, 167 (1878))).9

                 3.      The Rules and the Settlement Agreement Impermissibly Harm Third
                         Parties.

         This Court also correctly recognized that it “must take adequate account of the burdens a

 requested accommodation may impose on nonbeneficiaries.” Irish 4 Reprod. Health, 434 F. Supp.




 9
   Nor does Little Sisters address, much less resolve, the related question whether Notre Dame is
 substantially burdened as a legal matter by being required to provide coverage without cost-sharing
 of contraceptives that it is “willing to cover,” ND MTD at 22, and that it in fact has been covering
 for more than two years. See SAC ¶¶ 8, 13–17.

                                                    18
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 25 of 38


 3d at 709 (quoting Cutter v. Wilkinson, 544 U.S. 709, 720 (2005)). For “[i]f, in purporting to

 accommodate the religious exercise of some, the government imposes costs and burdens of that

 religious exercise on others, it favors the faith of the benefitted over the benefits and rights of the

 burdened, and this could violate the Establishment Clause.” Id. (citing Estate of Thornton v.

 Caldor, Inc., 472 U.S. 703, 709–10 (1985); Texas Monthly, Inc. v. Bullock, 489 U.S. 1, 18 n.18

 (1989) (plurality opinion)). And the Court determined that “[t]he burden seems quite evident in

 this case”: “allowing Notre Dame to opt out of providing contraceptive coverage practically affects

 and injures numerous students and faculty who would otherwise be entitled to the provision of

 contraceptive coverage.” Id. at 709-10.

        Little Sisters changes none of that. Yet Defendants determinedly insist that statutory

 authorization to create exemptions means that any religious exemptions then afforded are not

 susceptible to constitutional challenge, and that this Court therefore need not and cannot consider

 whether they burden nonbeneficiaries. See Gov’t MTD, at 22-23; ND MTD at 12.

        Not so. Congress cannot pass laws that violate the Constitution. See, e.g., Clark v. Suarez

 Martinez, 543 U.S. 371, 380–81 (2005); Santa Fe, 530 U.S. at 302. And because Congress cannot

 violate the Constitution, it also cannot confer authority or discretion on federal agencies to do so.

 Cf., e.g., Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 131–32 (Thomas, J., concurring) (Congress

 lacks authority to “issue a judicially binding interpretation of the Constitution,” and, “[l]acking the

 power itself, it cannot delegate that power to an agency”).

        Defendants also seek to relitigate this Court’s specific determination that the Rules and the

 Settlement Agreement burden students and faculty, arguing that the challenged actions leave

 “affected women . . . no worse off than before the Agencies initially decided to act” because

 “women had no entitlement to contraceptive coverage without cost sharing” before the coverage

 requirement was put in place. Gov’t MTD at 23; see also ND MTD at 12–13. But the Rules and


                                                   19
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 26 of 38


 the Settlement Agreement postdated the effective date of the coverage requirement by more than

 five years, so the status quo ante is that Plaintiffs were legally entitled to coverage—coverage that

 has now been stripped from them. On Defendants’ view, a claimant could not raise a due-process

 challenge to the summary termination of welfare benefits, for example, because there was a time

 before she became eligible to receive the benefits, or a time before the welfare program became

 law, when the claimant would have had no entitlement to the benefits. Nor, for the same reason,

 could anyone ever challenge unconstitutional discrimination in the denial of a federal benefit. That

 is not how constitutional rights operate. See, e.g., Goldberg v. Kelly, 397 U.S. 254, 262–63 (1970)

 (“The constitutional challenge [to termination of benefits to which a person is statutorily entitled]

 cannot be answered by an argument that the [benefits] are a ‘privilege’ and not a ‘right.’”); Agency

 for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214 (2013) (organization’s First

 Amendment rights violated by requirement that it adopt the government’s view on a particular

 issue in order to become eligible to take part in funding program).

         B.      RFRA Cannot Authorize Or Require A Policy That Violates the Constitution.

         RFRA provides important protections for religious exercise, but it does not and cannot

 authorize religious exemptions that fail to account for the Establishment Clause’s constraints.

 RFRA thus incorporates the constitutional prohibitions against religious accommodations that are

 broader than necessary to relieve substantial burdens on religion or that would detrimentally affect

 third parties—the former expressly on the Act’s face, and the latter under settled Supreme Court

 precedent. See Irish 4 Reprod. Health, 434 F. Supp. 3d at 708; id. at 709 (quoting Cutter, 544 U.S.

 at 720); see also Hobby Lobby, 573 U.S. at 693 (“Nor do we hold . . . that . . . corporations have

 free rein to take steps that impose ‘disadvantages’ . . . on others’ or that require ‘the general public

 to pick up the tab.’” (citation and alteration omitted); id. at 729 n.37; id. at 738-39 (Kennedy, J.,




                                                   20
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 27 of 38


 concurring); 42 U.S.C. § 2000bb-1 (incorporating substantial-burden requirement as statutory

 prerequisite).

        For the reasons explained in Section II.A., supra, this Court has already correctly

 determined that Plaintiffs have adequately alleged that the Rules and the Settlement Agreement

 fail in both respects. Hence, this Court has also rejected Defendants’ arguments for why RFRA

 purportedly authorizes and requires the Settlement Agreement. Irish 4 Reprod. Health, 434 F.

 Supp. 3d at 706-08.

        Despite Notre Dame’s frank acknowledgment (ND MTD at 13 (quoting Little Sisters, 140

 S. Ct. at 2382)) that Little Sisters “did not ‘need [to] reach’”—and, more to the point, undeniably

 did not reach—the question whether RFRA authorizes or requires the exemptions, Defendants ask

 this Court to revisit and reverse its previous rulings. But again, whatever additional issues Justices

 Alito and Gorsuch might have wished for the Supreme Court to consider, and however they might

 have wished that those questions be decided, the Court held only that it was “appropriate” for the

 agencies to “consider RFRA” in crafting regulations. Little Sisters, 140 S. Ct. at 2383. That the

 agencies may, or could, or should consider RFRA does not mean, as we have detailed (see supra

 Section II.A.), that they have carte blanche to create whatever religious exemptions they please,

 constitutional mandates to the contrary notwithstanding. And again, whether RFRA’s prerequisites

 and the Establishment Clause’s requirements are satisfied are legal questions committed to this

 Court; no deference to any agency is owed or due. See Irish 4 Reprod. Health, 434 F. Supp. 3d at

 706.

 III.   THE SETTLEMENT AGREEMENT IS VOID FOR ILLEGALITY

        A.        The Settlement Agreement is Unlawful Because It Violates the Lawful
                  Regulations Implementing the ACA, and Also Violates the APA.

        If the challenged Rules are vacated, as they should be, the previously promulgated rules

 will go back into effect. See Action on Smoking & Health v. Civ. Aero. Bd., 713 F.2d 795, 797


                                                  21
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 28 of 38


 (D.C. Cir. 1983) (“To vacate . . . means to annul; to cancel or rescind; to declare, to make, or to

 render, void; to defeat; to deprive of force; to make of no authority or validity; to set aside. Thus,

 by vacating or rescinding the [newly promulgated rules], the judgment of this court had the effect

 of reinstating the rules previously in force.”). Because the Settlement Agreement would contravene

 the rules then rightfully in effect, Plaintiffs have stated a claim that the Settlement Agreement is

 contrary to law and must likewise be vacated.

        Defendants’ protestations notwithstanding, Little Sisters did not hold that the challenged

 Rules are “perfectly lawful,” ND MTD at 24, much less that the Settlement Agreement must stand,

 Gov’t MTD at 19 n.9. The Supreme Court held only that the ACA affords Federal Defendants

 discretion to determine the availability of exemptions from the contraceptive coverage

 requirement, Little Sisters, 140 S. Ct. at 2379-82, which is not the end of the inquiry but the

 beginning. For example, as the Little Sisters Court expressly recognized, the APA still requires a

 requisite level of process to ensure that the Department’s policy reversal is not arbitrary and

 capricious. Id. at 2383-84. The Supreme Court did not determine—but rather expressly declined

 to consider—whether the Rules were promulgated in accordance with those standards. Id. at 2397

 (Kagan, J., concurring in the judgment) (“I question whether the exemptions can survive

 administrative law’s demand for reasoned decisionmaking. That issue remains open for the lower

 courts to address.”). Accordingly, whether the challenged Rules are lawful remains a live question

 before multiple courts, including this one. And Little Sisters left wholly undisturbed the basis for

 this Court’s ruling that “[b]ecause [Defendants] have offered little explanation, and have not

 ‘shown that there are good reasons’ for the change, Plaintiffs have stated a plausible claim . . . that

 the Rules are arbitrary and capricious.” Irish 4 Reprod. Health, 434 F. Supp. 3d at 704; see also

 Gov’t MTD at 3 n.3 (recognizing that the arbitrary-and-capricious claims cannot be resolved on

 these motions to dismiss).


                                                   22
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 29 of 38


        Defendants do not dispute that the Settlement Agreement contravenes the prior regulations,

 or that it would be contrary to governing law were those regulations to go back in effect.10 Instead,

 Notre Dame insists that the Settlement Agreement should be allowed to stand no matter what

 happens to the challenged Rules—i.e., regardless of whether the Settlement Agreement

 contravenes the law that is ultimately held to be in effect—based on the assertion that the

 Settlement Agreement is merely a “non-enforcement agreement.” ND MTD at 1, 17, 21. But as

 detailed in Section I.A.1., supra, this Court already rejected that argument in holding that Plaintiffs

 adequately alleged that the Settlement Agreement is “a conscious and express adoption of a general

 policy,” not a “single-shot non-enforcement agreement,” Irish 4 Reprod. Health, 434 F. Supp. 3d

 at 697-98. To the extent that Defendants suggest that Little Sisters somehow changes the analysis,

 that is incorrect for the reasons already explained. If anything, the Supreme Court’s decision only

 reinforces the impropriety of such “policymaking by settlement” under the circumstances here,

 because the Court recognized that the government’s discretion to reverse the previous federal

 policy is constrained by the rulemaking requirements of the APA. See Little Sisters, 140 S. Ct. at

 2383-84 (explaining that the reversal of the previous policy required a rulemaking process that

 was not arbitrary and capricious). It would defy reason for the Supreme Court to require a full

 rulemaking process when setting policy by regulation, while at the same time allowing the

 government to make the very same policy by contracting around the APA’s requirements behind

 closed doors. And the APA expressly requires agencies to engage in notice-and-comment

 rulemaking, subject to arbitrary-and-capricious review and constitutional constraints, before



 10
   Federal Defendants argue only (and in a footnote) that “it is not clear why Plaintiffs believe the
 Settlement Agreement must comply with prior regulations” because “Little Sisters held that the
 Agencies had statutory authority to promulgate the Final Rules.” Gov’t MTD at 19 n.9. As
 explained above, that misses the point, for Little Sisters did not finally determine the legality of
 the challenged Rules.


                                                   23
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 30 of 38


 amending or revoking a notice-and-comment rule. 5 U.S.C. §§ 551(5), 553, 706. Were Federal

 Defendants allowed to reverse those same regulatory policies through sweeping contracts that

 contain none of the hallmarks of that requisite process, it would render the APA’s rulemaking

 requirements nugatory.11

        Finally, Federal Defendants’ action is inconsistent with DOJ’s long-standing interpretation

 of the APA and its limitations on the government’s discretion to enter into settlement agreements.

 See Authority of the United States to Enter Settlements Limiting the Future Exercise of the

 Executive      Branch         Discretion,     23        Op.   O.L.C.     126,        129     (1999),

 https://www.justice.gov/file/19516/download (the “Moss Memo”) (explaining that “the notice and

 comment requirements of the APA” may “limit the settlement authority of the executive branch.”);

 see also Memorandum from Edwin Meese III, Attorney General, Department Policy Regarding

 Consent     Decrees     and      Settlement   Agreements,     § II.A,   B    (Mar.     13,   1986),

 https://www.archives.gov/files/news/samuel-alito/accession-060-89-1/Acc060-89-1-box9-

 memoAyer-LSWG-1986.pdf (pdf pp. 6-8) (the “Meese Memo”) (prohibiting government from

 entering into settlement agreements that “limit[] the discretion of a[n executive] department or

 agency” or that would “convert[] [a federal agency’s discretionary authority] into a mandatory

 duty” for the agency). DOJ’s own interpretation of its authority to enter into settlement agreements

 recognizes that “the Administrative Procedure Act generally limits the manner by which executive

 branch agencies may adopt, amend, or revise regulatory rules and procedures, and thus [it is]



 11
    That is especially true here, where the policy was implemented in the form of regulations and a
 settlement agreement that contain the same terms. If this approach were permissible, the
 government could always insulate its questionable rulemaking processes from the courts through
 this belt-and-suspenders approach, for its new policies would then effectively remain in effect
 regardless of whether a court vacates them as unlawful. See Irish 4 Reprod. Health, 434 F. Supp.
 3d at 700 (noting that Notre Dame “seems to be relying on both the Rules and the Settlement
 Agreement right now to support its contraceptive decisions” and that if one were struck down
 Notre Dame would “surely take shelter” in the other).

                                                    24
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 31 of 38


 important to ensure that the terms of any settlement limiting the otherwise discretionary regulatory

 authority of an executive branch agency conform to the terms of that Act.” Moss Memo, 23 Op.

 O.L.C. at 129 (emphasis added). The Moss Memo further acknowledges that the “executive branch

 may not settle on terms that would infringe the constitutional rights of third parties,” adding that

 “[t]here may be . . . statutory provisions that protect the interests of third parties . . . that limit the

 settlement authority of the executive branch.” Id. (emphasis added).12

         While Defendants attempt to minimize this authority, it is well-settled that opinions from

 DOJ’s Office of Legal Counsel (“OLC”) “are treated as final and conclusive [and] necessarily

 become the executive branch interpretation of the law.” Arthur H. Garrison, The Opinions by the

 Attorney General and the Office of Legal Counsel: How and Why They Are Significant, 76 Alb. L.

 Rev. 217, 238 & n.85 (2013) (quoting Randolph D. Moss, Executive Branch Legal Interpretation:

 A Perspective from the Office of Legal Counsel, 52 Admin. L. Rev. 1303, 1321 (2000)); see also

 Hispanic Affairs Project v. Acosta, 263 F. Supp. 3d 160, 178 (D.D.C. 2017) (“The plaintiffs are

 correct to point out that [OLC] memoranda are akin to legal authority for an agency engaging in

 rulemaking on a related subject and therefore may now be considered by the Court, even if the




 12
     Defendants mischaracterize Plaintiffs’ reliance on the Meese and Moss Memos as an
 independent cause of action and then seek dismissal of that supposed claim. Gov’t MTD at 16-17;
 ND MTD at 20. Plaintiffs do not allege, and never have alleged, that the Meese or Moss Memos
 create an independent cause of action. See generally SAC. Rather, Plaintiffs cite that long-standing
 DOJ policy as the correct interpretation of the law on how the government must act in order to
 comply with the APA and the United States Constitution—as well as controlling authority that
 binds the government. See SAC ¶ 166 (listing violation of DOJ policy, including the Meese Memo,
 as support for why the Settlement Agreement is unlawful under the APA). Defendants’ arguments
 about whether claims under the Meese and Moss Memos are independently “cognizable,” Gov’t
 MTD at 16-17, are thus a red herring.


                                                     25
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 32 of 38


 agency elected not to consider such materials.”), aff'd in part, rev’d in part, 901 F.3d 378 (D.C.

 Cir. 2018).13 And here they are the correct interpretations.

           Accordingly, Plaintiffs have stated a claim that the Settlement Agreement is unlawful

 because it violates the APA and the lawful regulations implementing the Women’s Health

 Amendment of the ACA. At best, the Settlement Agreement implements aspects of the challenged

 Rules, and the validity of those Rules remains an open question pending before this Court and two

 others. If the Rules are vacated, as they should be, the Settlement Agreement will be contrary to

 the law then in effect. This Court has already held that “[t]he Attorney General’s authority to settle

 litigation for its government clients stops at the walls of illegality.” Irish 4 Reprod. Health, 434 F.

 Supp. 3d at 699 (quoting Exec. Bus. Media Inc. v. U.S. Dep’t of Defense, 3 F.3d 759, 762 (4th Cir.

 1993)).

           B.     Federal Defendants’ Decision to Permit Notre Dame to Impose Costs on
                  Students and Faculty for Contraception Violates the Women’s Health
                  Amendment and its Implementing Regulations.

           The Settlement Agreement is also unlawful to the extent that it allows Notre Dame to

 impose cost-sharing for contraception that Notre Dame otherwise covers. SAC ¶ 167. Notre Dame

 has invoked the Settlement Agreement as a basis to amend its insurance plans in a manner that not

 only terminates coverage for some methods of contraception altogether, but also subjects other,

 covered forms of contraception to co-payments and deductibles. SAC ¶¶ 134–136, 145; see also



 13
   Defendants point to a clause in the Meese Memo that allows the Attorney General to depart from
 the listed policies and exercise “necessary discretion to deal with the realities of any given case.”
 ND MTD at 21; Gov’t MTD at 19. But that provision is not a catch-all shield from responsibility
 for any and all statutory and constitutional violations arising from settlement agreements. On the
 contrary, OLC made clear that the Attorney General must “accommodate the agency’s policy
 judgments to the greatest extent possible without compromising the law,” and that “[o]ther types
 of considerations that concern more particular policy aims . . . generally must be rooted in the
 purposes of the statutes that govern the agency that has been vested by Congress with the
 policymaking discretion and on whose behalf the settlement would be effected.” Moss Memo, 23
 Op. O.L.C. at 138 (emphasis added).

                                                   26
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 33 of 38


 Irish 4 Reprod. Health, 434 F. Supp. 3d at 694. This imposition of cost-sharing for contraception

 that Notre Dame otherwise willingly covers is a sharp departure from the requirements of the

 Women’s Health Amendment and goes beyond even the challenged Rules. SAC ¶¶ 3, 9, 134, 167.

 The Women’s Health Amendment explicitly prohibits the imposition of cost-sharing when

 providing coverage for preventive care, and nothing in the Rules addresses or alters that central

 aspect of the statute. Thus, to the extent the Settlement Agreement purports to allow Notre Dame

 to impose cost-sharing requirements for contraceptive coverage, it clearly violates the ACA. Notre

 Dame attempts to circumvent this issue by characterizing its actions as a new form of religious

 objection—one that has never been presented before and which is based entirely upon attorney

 representations about the University’s reasons for imposing cost-sharing requirements. Even if

 Notre Dame could claim a religious exemption solely to the prohibition on cost-sharing for

 contraceptive methods it has chosen to cover, which Plaintiffs contest as a legal matter, the

 unsupported facts Notre Dame lodges in service of their position cannot be resolved on a motion

 to dismiss.

        The Women’s Health Amendment states that group health plans “shall, at a minimum

 provide coverage for and shall not impose any cost sharing requirements for” preventive care

 described in HRSA guidelines. 42 U.S.C. §§ 300gg-13(a) (emphasis added); § 300gg-13(a)(4); see

 also SAC ¶¶ 2, 51–58. And HRSA guidelines continue to require coverage without cost-sharing

 of all FDA-approved methods of contraception for women and related services, education, and

 counseling.14 The statute’s prohibition against cost-sharing is “critical.” Id. ¶ 66(g); see also Irish




 14
      Health Res. & Servs. Admin., Women’s Preventive Services Guidelines,
 https://www.hrsa.gov/womens-guidelines-2016/index.html. Little Sisters did not change the
 prohibition against cost-sharing. 140 S. Ct. at 2373 (acknowledging that the preventive-care
 requirement prohibits cost-sharing); see also SAC ¶¶ 59–64.


                                                   27
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 34 of 38


 4 Reprod. Health, 434 F. Supp. 3d at 690 (“Critically, the services must be provided without cost-

 sharing.” (emphasis added) (citing ECF No. 43 ¶ 51; 42 U.S.C. § 300gg-13(a)(4))).15

         Nothing in the Rules suggests that a religious objector may impose costs for contraceptive

 methods that it has made a decision to cover. On the contrary, the exemption in the challenged

 Rules applies only to the extent that an entity “objects, based on its sincerely held [religious beliefs

 or moral convictions], to its establishing, maintaining, providing, offering, or arranging for . . .

 [c]overage or payments for some or all contraceptive services.” Religious Exemptions and

 Accommodations for Coverage of Certain Preventive Services Under the Affordable Care Act, 83

 Fed. Reg. 57,536, 57,590 (Nov. 15, 2018) (religious exemptions) (emphasis added); Moral

 Exemptions and Accommodations for Coverage of Certain Preventive Services Under the

 Affordable Care Act, 83 Fed. Reg. 57,592, 57,636 (Nov. 15, 2018) (moral exemptions); see also

 SAC ¶ 167. Thus, even if Notre Dame’s objection to providing coverage for some contraceptive

 services were to trigger an exemption under the Rules, the Rules do not sanction its decision to

 willingly provide coverage for contraceptive services but force employees and students to pay

 more for those same services than the law permits.

         Notre Dame concedes that it covers certain methods of contraception subject to cost-

 sharing requirements but now asserts that its decision to charge co-pays and to leverage deductibles

 was a “religious determination” made “at the time the University entered into the Settlement.” ND

 MTD at 21-22. In this regard and others, Notre Dame’s brief is replete with assertions of facts

 outside the complaint—including assertions about the teachings of Catholic theology and a



 15
    One reason this requirement is critical is because copays and deductibles limit access to
 contraception—something that the Departments themselves have acknowledged. SAC¶¶ 42–48;
 see also id. ¶ 66(g) (recognizing that “cost sharing can be a significant barrier to access to
 contraception” and that “eliminating cost sharing is particularly critical to addressing the gender
 disparity [in health coverage”); see also ECF No. 61 at 35 n.24 (compiling Departments’
 statements).

                                                   28
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 35 of 38


 description of the University’s supposed “consultation with theologians and ethicists.” Id. In lieu

 of record support for those allegations, Notre Dame’s attorneys improperly make naked

 assertions—assertions that are unsupported by any evidence and far exceed the scope of the Second

 Amended Complaint.

        As a threshold matter, Notre Dame’s assertions about the reasons for requiring Plaintiffs

 to bear these costs simply cannot be considered at the motion-to-dismiss stage, because the Court

 must accept as true the well-pleaded facts in the complaint, view them in the light most favorable

 to Plaintiffs, and not allow defendants to offer up their own factual (or counter-factual) assertions.

 See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (recognizing that, to survive a motion to dismiss,

 a complaint merely needs “sufficient factual matter, accepted as true, to ‘state a claim to relief that

 is plausible on its face’” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007))). In

 contrast to Notre Dame’s new assertions, Plaintiffs have alleged that despite numerous public

 statements on this topic, Notre Dame never previously suggested that its decision to require cost-

 sharing was based on a religious objection. For example, Notre Dame’s February 2018

 announcement of its decision to terminate coverage for some methods of contraception altogether

 and to cover others said only that the faculty and student plans would cover “simple”

 contraceptives. SAC ¶ 8. Like Notre Dame’s prior announcements, the February 2018

 announcement did not even mention cost-sharing, let alone voice a religious objection that required

 students and faculty to incur co-pay charges for “simple” contraceptives. Id.; see also SAC ¶ 124

 (announcing on October 27, 2017, its intention to “withdraw contraceptive coverage from its health

 plans beginning in the new plan years”); id. ¶ 131 (announcing in early November 2017 that it

 would “‘not interfere’ with the provision of contraceptive coverage”).16 Likewise, when Notre


 16
    The Second Amended Complaint cites and incorporates the Letter to Faculty and Staff by
 President     Rev.    John    I.   Jenkins,    C.S.C.      (Feb.    7,   2018),    available at
 https://president.nd.edu/homilies-writings-addresses/letter-on-health-care-coverage/.

                                                   29
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 36 of 38


 Dame announced in March 2018 on its “Frequently Asked Questions about Contraceptive

 Coverage” (“FAQ”) webpage that it would be imposing cost-sharing for “simple” contraceptives,

 it did not then even suggest that this was because of any religious objection to the prohibition

 against cost-sharing. SAC ¶ 138–141.17 Open questions thus remain about whether, as a factual

 matter, Notre Dame’s decision to impose cost-sharing was actually based on religious reasons at

 all. That factual dispute cannot be resolved on a motion to dismiss but instead should be addressed

 through discovery based on contemporaneous evidence. For now, the facts set forth in the Second

 Amended Complaint are all that matter, and they are more than sufficient to establish that Notre

 Dame relied on the Settlement Agreement to improperly impose cost-sharing on its students and

 faculty. See generally Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).18

        Accordingly, because the Second Amended Complaint sets forth a claim that the

 Settlement Agreement has provided Notre Dame cover to impose unlawful cost-sharing for

 contraceptive coverage, “the Settlement Agreement is contrary to law because it violates the

 Women’s Health Amendment, the Final Rules, and the previously operative implementing


 17
    The Second Amended Complaint cites and incorporates Notre Dame’s “Frequently Asked
 Questions about Contraceptive Coverage” webpage, available at https://uhs.nd.edu/insurance-
 billing/insurance-faqs/faqs-regarding-contraceptive-coverage/ (accessed Mar. 2018).
 18
    Seeking a blanket defense for its unlawful actions, Notre Dame invokes Little Sisters to argue
 that the scope of its ability to opt out of an applicable statutory obligation is a “line that is
 undoubtedly Notre Dame’s to draw.” ND MTD at 23. But as already explained, the ACA and
 Rules simply do not permit Notre Dame to claim a religious exemption only to the prohibition on
 cost-sharing, and the Settlement Agreement violates the ACA by allowing Notre Dame to do so.
 Moreover, as discussed in note 9, supra, it remains an open question whether Notre Dame is
 substantially burdened as a legal matter by being required to provide ACA-compliant coverage for
 contraceptives it is otherwise covering, rendering any such exemption constitutionally suspect.
 Finally, even assuming that Notre Dame could show a sincere objection to providing cost-free
 contraceptive coverage, there remain open questions about whether, as a factual matter, the
 University’s decision to impose cost-sharing was actually based on religious reasons at all.
 Nothing in the record supports that conclusion. The answer to that factual dispute is not appropriate
 for a motion to dismiss, and should be addressed through discovery based on contemporaneous
 evidence.


                                                  30
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 37 of 38


 regulations (see 78 Fed. Reg. 39,870; 80 Fed. Reg. 41,318) . . . in contravention of the statute’s

 requirement that it ‘shall not impose any cost sharing requirements.’” SAC ¶ 167.19

                                         CONCLUSION

        For the foregoing reasons, Defendants’ motions to dismiss should be denied.



 Dated: October 21, 2020                      Respectfully submitted,

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 19
   Although Federal Defendants argue that the Settlement Agreement “does not promise to excuse
 noncompliance with the prohibition against cost-sharing for contraceptives to which signatories
 do not object on religious grounds,” Gov’t MTD at 19, Notre Dame insists that the Settlement
 Agreement does allow it to charge cost-sharing for contraceptives that it is otherwise “willing to
 cover,” ND MTD at 22, and Notre Dame does not dispute that it has invoked the Settlement
 Agreement to impose such cost-sharing since 2018, id. at 21–23; SAC ¶¶ 8, 13–17. Thus, the scope
 of the Settlement Agreement remains an open question.

                                                31
USDC IN/ND case 3:18-cv-00491-PPS-JEM document 127 filed 10/21/20 page 38 of 38



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                                      32
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